     Case 4:18-cv-00747      Document 55        Filed on 06/22/20 in TXSD       Page 1 of 1
                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                                                                                        June 22, 2020
                           UNITED STATES DISTRICT COURT
                                                                                     David J. Bradley, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

CHARLES A. WHITTIER, et al.,                    §
                                                §
       Plaintiffs,                              §
                                                §
v.                                              §          CIVIL ACTION H-18-747
                                                §
OCWEN LOAN SERVICING, LLC, et al.,              §
                                                §
       Defendants.                              §


                                            ORDER

       The telephone status conference set June 23, 2020 at 10:00 a.m. will be held before Senior

Judge Gray H. Miller. The call in information is as follows:

                                        713-250-5707
                                      meeting ID: 45707#
                                         pin: 13579#


       Signed at Houston, Texas on June 22, 2020.




                                            ___________________________________
                                                        Gray H. Miller
                                                Senior United States District Judge
